        Case 2:06-cr-00176-CG-M                       Doc# 653      Filed 09/02/08         Page 1 of 1             PageID# 2606
2AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                   for the
                                                         Southern District
                                                      __________  District of
                                                                           of __________
                                                                              Alabama

                    United States of America                          )
                               v.                                     )
              JAKARTA ALGERNON BONNER                                 )   Case No: 2:06-CR-00176-006
                                                                      )   USM No: 09555-003
Date of Previous Judgment:                     02/27/2007             )   Pro Se
(Use Date of Last Amended Judgment if Applicable)                     )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       u DENIED. ✔  u GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 168 months    months is reduced to 135 months                 .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    35               Amended Offense Level:                                               33
Criminal History Category: I                Criminal History Category:                                           I
Previous Guideline Range:  168 to 10 months Amended Guideline Range:                                             165      to 168 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
✔ The reduced sentence is within the amended guideline range.
u
u The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
u Other (explain):




III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated               02/27/2007      shall remain in effect.
IT IS SO ORDERED.

Order Date:                 09/02/2008                                                   /s/ Callie V. S. Granade
                                                                                                   Judge’s signature


Effective Date:                                                                       Chief United States District Judge
                     (if different from order date)                                              Printed name and title
